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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

BRIDGESTONE BRANDS, LLC, a
Delaware limited liability company,
200 4" Avenue S

Nashville, Tennessee 37201

and

BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC, a Delaware limited
liability company,

200 4" Avenue S

Nashviile, Tennessee 37201

Plaintiffs,

v.

PHILADELPHIA MOTORWORLD
AUTO SERVICE & TIRE CENTER,
INC., a Pennsylvania corporation,

7446 Ogontz Ave.

Philadelphia, Pennsylvania 19138-1324

and
SHERMAN MCLEOD, an individual,

2754 N. 45" St.
Philadelphia, Pennsylvania 19131-1517

and

SHAWN MCLEOD, an individual,
3143 N, 28" St.

Philadelphia, Pennsylvania 19132-1218

Defendants.

 

COMPLAINT FOR TRADEMARK
INFRINGEMENT, TRADEMARK
DILUTION, AND UNFAIR
COMPETITION

Case No.

Jury Trial Demanded

 

Plaintiffs Bridgestone Brands, LLC and Bridgestone Americas Tire Operations, LLC,

(collectively “Firestone” or “Plaintiffs”), by their undersigned attorneys, allege as follows, upon
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actual knowledge with respect to themselves and their own acts, and upon information and belief

as to all other matters.
NATURE OF THE ACTION

1. This is an action for trademark infringement, trademark dilution, and unfair

competition under federal and state law.

THE PARTIES

2, Plaintiffs are Delaware limited liability companies with a principal place of
business at 200 4"" Avenue S, Nashville, Tennessee 37201.

3, Upon information and belief, Defendant Philadelphia Motorworld Auto Service &
Tire Center, Inc. (“Philadelphia Motorworld”) is a Pennsylvania corporation with its principal
place of business at 7446 Ogontz Ave., Philadelphia, Pennsylvania 19138-1324.

4, Upon information and belief, Defendant Sherman McLeod is an individual
residing at 2754 N. 45th St., Philadelphia, Pennsylvania 19131-1517, and is President of
Philadelphia Motorworld.

5. Upon information and belief, Defendant Shawn McLeod is an individual residing
at 3143 N. 28th St., Philadelphia, Pennsylvania 19132-1218, and is Vice President of
Philadelphia Motorworld. (Philadelphia Motorworld, Sherman McLeod, and Shawn McLeod
will be collectively referred to herein as the “Defendants’’).

JURISDICTION AND VENUE

6. This action arises under the federal Lanham (Trademark) Act, 15 U.S.C. §§ 1051,
et seq., and under the related law of the state of Pennsylvania. This Court has jurisdiction over
the subject matter of this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a)

and (b). This Court has supplemental jurisdiction over Firestone’s state law claims pursuant to
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28 U.S.C. § 1367 because those claims are substantially related to Firestone’s federal Lanham
Act claims,

7. This Court has personal jurisdiction over Defendants, and venue is proper in this
District pursuant to 28 U.S.C. § 1391, because Firestone is being harmed in this District,
Defendants reside in this District, Defendants are doing business in this District, and Defendants

are using the infringing and dilutive FIRESTONE name and mark in this District.

FIRESTONE AND THE FAMOUS FIRESTONE NAME AND TRADEMARKS

8. Firestone and its related and affiliated companies comprise the world’s largest tire
and rubber company. Their products are sold in over 150 nations and territories around the
world,

9. Firestone, by and through its related companies and licensees, has continuously
used the FIRESTONE name and trademark for over a century, dating back to when entrepreneur
and innovator Harvey S. Firestone founded Bridgestone’s predecessor-in-interest, The Firestone
Tire and Rubber Company. By 1900, with 12 employees and a single production facility in
Akron, Ohio, The Firestone Tire and Rubber Company produced its first tire. FIRESTONE tires
quickly gained a reputation for quality and performance; they were chosen by Henry Ford for the
first mass-produced cars in America and, shortly thereafter, drove to victory in the very first
Indianapolis 500 car race.

10. Inthe decades that followed, The Firestone Tire and Rubber Company continued
to expand its FIRESTONE-branded product offerings, grow in size, and enjoy tremendous
commercial success.

li. Today, Firestone develops, manufactures, and markets FIRESTONE-branded tires

for virtually every type of land vehicle, including tires for passenger, light truck, commercial
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truck and bus, agriculture, and off-road vehicles. Firestone’s tires have one of the largest market
shares for passenger vehicles and have been offered as original equipment on several different
brands of vehicles.

12. _ Firestone has continuously used the FIRESTONE trademark and name in
commerce in the United States since at least as early as 1900.

13. In addition to its tires, Firestone has offered retail-store services under its
FIRESTONE mark since at least as early as 1926 through its related company Bridgestone Retail
Operations, LLC. FIRESTONE branded retail stores provide a full assortment of tires and
automobile maintenance and repair services. Over the years, FIRESTONE brand automotive
maintenance and repair businesses have grown to approximately 1,500 company-owned stores
nationwide. Retail stores are located throughout Pennsylvania, including a location just over six
miles from Defendants’ store location in Philadelphia, Pennsylvania.

14. Firestone’s authorized retail stores prominently feature approved signage,
displays, print materials, and other marketing and promotional materials bearing the
FIRESTONE marks. The following is a representative example of the facade of a FIRESTONE

retail store:
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15. Through itself and licensees, Firestone has used the FIRESTONE marks in
connection with various services and products, including tire and automotive products, (e.g.,
road-safety kits), services, accessories, and related merchandise and goods (e.g., clothing, video
games, models, and toys).

16. Firestone owns the following valid and subsisting U.S. trademark registrations for

its FIRESTONE marks (among others):

 

 

 

 

 

 

Mark | Goods/Services Reg. No. Reg. Date
Firestone Rubber tires 0140804 03/29/1921
Firestone — Retail tire and automotive 1178631 11/17/1981

store services
Vehicle tires and inner
Firestone ch eee: 1387468 03/25/1986
FIRESTONE Vehicle tires and inner 2464005 06/26/2001

tubes therefor

 

Firestone eager dames 3173847 11/21/2006

 

Fire $tO nN e Retail tire store services 3173840 11/21/2006

 

 

 

 

 

 
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Retail tire and automobile
FIRESTONE parts and accessories
COMPLETE store; automotive 3299861 09/25/2007

AUTO CARE services, namely,
automobile repair and

maintenance

 

 

 

 

 

 

The above marks and additional FIRESTONE marks and registrations are listed in
Exhibit 1. Firestone’s registrations listed above are incontestable.

17. Firestone, through its related companies, uses and/or has used the registered
FIRESTONE marks in the United States for the products and services identified in Paragraphs
15, and for other products and services,

SALE AND PROMOTION OF
FIRESTONE PRODUCTS AND SERVICES

18. In recent years, Firestone has sold billions of dollars of tires branded with the
FIRESTONE marks in the United States through its FIRESTONE retail stores and other outlets.

19, Firestone’s tires have been featured as original equipment on same of the world’s
top-selling cars and trucks.

20. Firestone spends millions of dollars annually advertising, marketing, and
promoting the FIRESTONE marks/names through virtually every type of digital, broadcast, and
print media, including but not limited to print advertisements (e.g., magazines and newspapers),
television and radio commercials, Internet advertising, social media, billboards, brochures,
catalogs, point-of-sale displays, sponsorships, trade shows, apparel, merchandise, and
promotional items.

21. The FIRESTONE marks/names have further been promoted through Firestone’s
sponsorship of a number of high-profile sports and music leagues, associations, and events. For
example, FIRESTONE is (and/or has been) the Official Tire of the Indy Racing League,

IndyCar, the Indianapolis 500, and Bigfoot Monster Truck Racing Team. Moreover, Firestone
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has signed on to be an Olympics partner/sponsor through 2024. Firestone has also sponsored a
number of country music festivals, events, and concerts, including, but not limited to, the CMA
Music Festival and the Legends Day Concert held at the Indianapolis Motor Speedway during
the Indianapolis 500.

22. The FIRESTONE marks/names also have been prominently featured and
promoted through various highly followed and publicized racing events, including in connection
with the Indy 500 race. From 1920 through 1966, Firestone won every Indy 500 race—a record
unmatched by any other tire manufacturer. The FIRESTONE marks/names appeared
prominently on signage and other materials throughout these events.

23. The FIRESTONE marks/names have also been promoted online through various
company websites, popular social-networking websites (including Facebook, Instagram, and
Twitter), and advertising placed on third-party websites.

24, In addition to its own substantial advertising and promotional activities, the
FIRESTONE marks/names, products, and sponsored events receive a significant amount of
unsolicited media coverage, including on nationally broadcast television programs and in widely
circulated publications.

25. Asa result of the distinctive nature and inherent strength of the FFRESTONE
marks/names; widespread use, advertising, publicity, and promotion; and billions of dollars of
sales, the FIRESTONE marks/names have been well known and famous since long before
Defendants began their unlawful acts.

26. ‘In Bridgestone/Firestone North American Tire, LLC and BFS Brands, LLC vy.

Silverstone Berhad, 2003 TTAB LEXIS 142, 28-29 (TTAB 2003), the Trademark Trial and
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Appeal Board of the United States Patent and Trademark Office held that the FIRESTONE mark

is famous.

DEFENDANTS’ WRONGFUL ACTS

27. Upon information and belief, Philadelphia Motorworld was incorporated in June
1997 under the name PHILADELPHIA MOTORWORLD AUTO SERVICE & TIRE CENTER,
INC. Sometime thereafter, upon information and belief, Defendants began doing business and
holding themselves out to the public under the mark FIRESTONE PHILADELPHIA MOTOR
WORLD.

28. Defendants were previously authorized to use the FIRESTONE trademark and
logo, but are no longer authorized to do so.

29. On September 11, 1997, Defendants entered into the Authorized Dealer
Agreement (‘Dealer Agreement”), attached as Exhibit 2, with Bridgestone Americas Tire
Operations, LLC (previously named Bridgestone/Firestone, Inc.) authorizing Defendants to use
certain Firestone trademarks in connection with the store located at 7446 Ogontz Avenue,
Philadelphia, Pennsylvania 19138 (the “Ogontz Avenue Store”). The Dealer Agreement
included a non-transferable, non-exclusive license to use the FIRESTONE mark for certain
advertising and promotional materials displayed and/or distributed at the Ogontz Avenue Store,
for so long as Defendants remained an affiliated dealer under the agreement.

30. The Dealer Agreement provides, among other things, that “Upon termination of
this Agreement, you shall immediately and without delay cease and desist from holding yourself
out to the public in any fashion or manner as an Affiliated Dealer, shall thereupon permanently
remove and cease to utilize the trademarks and associated designs covered by the license granted

herein and, at the option of BFS, return to BFS, all signs, displays, labels, wrapping and
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packaging material, stationery, and advertising then in your possession bearing the mark or
associated designs.”

31. Inaddition to the Dealer Agreement, Defendants entered into a separate Sign
Bailment Agreement, attached as Exhibit 3, under which Defendants agreed to “immediately
upon request of BFS or upon termination of this Agreement, shall cease to use and remove all the
Signs) and marks, and all other BFS identification, from the location and deliver the same to
such location as may be designated by BFS.”

32. On September 15, 1999, Firestone terminated the Authorized Dealer Agreement.
A copy of the written termination notice to Defendants is attached as Exhibit 4.

33. | Defendants are no longer licensed or otherwise authorized by Firestone to use the
FIRESTONE name or mark in any way. Defendants, however, failed to remove the
FIRESTONE signage from the Ogontz Avenue Store as required by the Dealer Agreement.
Instead, Defendants have used the FIRESTONE mark in signage to unlawfully hold themselves
out as a FIRESTONE store and to capitalize on the valuable and favorable reputation and
goodwill associated with Firestone and its names and marks. For example, Defendants use the
FIRESTONE PHILADELPHIA MOTOR WORLD name and mark on signage at their

automotive shop. This signage includes the stylized FIRESTONE logo mark, as seen in the

following photograph:
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Philadelphia, Pennsylvania
ra Google, Inc.

o oniaegia Techn
“amauta
von pttedu 215-981-9403

 

34. Firestone contacted the Defendants in September 2016 to request that they cease
using the FIRESTONE mark and signage and transition to a new name and mark, but Defendants
refused. A copy of the letter is attached as Exhibit 5. The Defendants therefore had actual
notice that they were and are using a mark likely to cause confusion with, and that is likely to
dilute and/or is diluting, Firestone’s FIRESTONE marks.

35; The Defendants also had constructive notice of the FIRESTONE marks prior to
their use of FFRESTONE PHILADELPHIA MOTOR WORLD, based on Firestone’s U.S.

trademark registrations, including those listed in Exhibit 1.

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36. Since September 2016, Firestone has repeatedly attempted to persuade the
Defendants to take down the stylized FIRESTONE signage and cease all use of the FIRESTONE
marks, to no avail.

37. | The Defendants continue to use (and have not agreed to stop using) the
FIRESTONE name and mark in connection with their business, nor have they removed the
stylized FIRESTONE signage.

INJURY TO THE PUBLIC AND BRIDGESTONE

38. Defendants’ unauthorized use of the FIRESTONE name and mark, including as
part of Defendants’ shop name displayed as FIRESTONE PHILADELPHIA MOTOR WORLD,
has led to actual consumer confusion, further injuring Plaintiff.

39. Indeed, in January 2017, Plaintiffs” affiliate, Bridgestone Retail Operations, LLC
(BSRO), was sued for a slip-and-fall accident that occurred at Defendants’ property. As a result
of Defendants’ unauthorized display of the FIRESTONE sign, the complaining party in that case
erroneously assumed that BSRO was affiliated with and/or operated Defendants’ shop.
Although BSRO was eventually dismissed from the lawsuit, this occurred only after BSRO
incurred substantial legal fees. Moreover, the incident diminished the goodwill in the
FIRESTONE brand as a result of being erroneously associated with this incident and any related
consumer injury or suffering.

40. More generally, Defendants’ continued unauthorized use of the FIRESTONE
name and mark, including as part of Defendants’ shop name displayed as FIRESTONE
PHILADELPHIA MOTOR WORLD, is likely to continue to cause confusion, mistake, and
deception as to the source or origin of the Defendants’ services and products, and is likely to
suggest a sponsorship, connection, or association between the Defendants, their products and

services, and/or their commercial activities with Firestone.

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41. The Defendants’ unauthorized use of the FIRESTONE name and mark as
described above is also likely to dilute and/or is diluting the distinctiveness and value of
Firestone’s famous FIRESTONE marks.

42. The Defendants’ unauthorized use of the FIRESTONE name and mark has
damaged and irreparably injured, and, if permitted to continue, will further damage and
irreparably injure Firestone, the FIRESTONE name and marks, Firestone’s reputation and
goodwill, and the public’s interest in being free from confusion.

43. The Defendants have known, and still know, that the use of the FIRESTONE
mark, including as part of the displayed name FIRESTONE PHILADELPHIA MOTOR
WORLD, is neither permitted nor authorized. As a result, Defendants have acted knowingly,
willfuliy, in reckless disregard of Firestone’s rights, and in bad faith.

FIRST CLAIM FOR RELIEF

(TRADEMARK INFRINGEMENT UNDER SECTION 32(1) OF THE LANHAM ACT, 15
U.S.C. § 1114(1))

44, Firestone repeats and realleges each and every allegation set forth in paragraphs 1
through 43 of this Complaint.

45, Without Firestone’s consent, the Defendants used and continue to use in
commerce, reproductions, copies, and colorable imitations of Firestone’s prior registered
FIRESTONE marks in connection with the offering, distribution, and advertising of products and
services, which has caused actual confusion and is likely to continue to cause confusion, or to

cause mistake, or to deceive, in violation of Section 32(1) of the Lanham Act, 15 U.S.C. §

1114¢1).

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SECOND CLAIM FOR RELIEF

(TRADEMARK INFRINGEMENT, FALSE DESIGNATION OF ORIGIN, PASSING
OFF, AND UNFAIR COMPETITION UNDER SECTION 43(a) OF THE LANHAM ACT,
15 U.S.C. § 1125(a))

46. Firestone repeats and realleges each and every allegation set forth in paragraphs 1
through 45 of this Complaint.

47. The Defendants’ use of the FIRESTONE name and mark, as described above, has
caused actual confusion and is likely to continue to cause confusion, or to cause mistake, or to
deceive as to the origin, sponsorship, or approval of the Defendants, their services/products,
and/or their commercial activities by or with Firestone, and thus constitute trademark
infringement, false designation of origin, passing off, and unfair competition in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

THIRD CLAIM FOR RELIEF

(TRADEMARK DILUTION UNDER SECTION 43(a) OF THE LANHAM ACT, 15 U.S.C.
§ 1125(c))

48. Firestone repeats and realleges each and every allegation set forth in paragraphs 1
through 47 of this Complaint.

49, Firestone’s FIRESTONE marks are famous, as that term is used in 15 U.S.C. §
1125(c), and were famous prior to the Defendants’ first use of FIRESTONE and/or FIRESTONE
PHILADELPHIA MOTOR WORLD, based on, among other things, the federal registrations of
Firestone’s FIRESTONE marks, the long and extensive nationwide use, advertising, promotion,
and recognition of Firestone’s FIRESTONE marks, and the findings of the Trademark Trial and
Appeal Board in Bridgestone/lirestone North American Tire, LLC and BFS Brands, LLC v.

Silverstone Berhad, 2003 TTAB LEXIS 142, 28-29 (TTAB 2003).

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50. The Defendants’ actions, as described above, are likely to dilute and/or are
diluting the distinctive quality of Firestone’s famous FIRESTONE marks in violation of Section
43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

FOURTH CLAIM FOR RELIEF

(TRADEMARK DILUTION UNDER PENNSYLVANIA’S DILUTION STATUTE, 54 Pa.
Cons. Stat. Ann, § 1124)

51. Firestone repeats and realleges each and every allegation set forth in paragraphs 1
through 50 of this Complaint.

§2. Based on the distinctiveness and long, extensive, and exclusive use of the
FIRESTONE name and marks among the general consuming public, Firestone’s FIRESTONE
name and marks are famous, and were famous prior to Defendants’ use of FFRESTONE and/or
FIRESTONE PHILADELPHIA MOTOR WORLD.

53. The Defendants’ actions, as described above, are likely to dilute and/or are
diluting Firestone’s famous FIRESTONE name and marks in violation of Pennsylvania’s
Dilution Statute, 54 Pa. Cons. Stat. Ann. § 1124.

54. The Defendants’ actions, as described above, have also been undertaken with
willful intent to trade on Firestone’s reputation and to cause dilution of its famous FIRESTONE
name and marks.

FIFTH CLAIM FOR RELIEF

(UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION UNDER
PENNSYLVANIA LAW, 73 P.S. §§ 201-1 to 201-9.3)

55. Firestone repeats and realleges each and every allegation set forth in paragraphs 1

through 54 of this Complaint.
56. In connection with their business and the unauthorized sale and distribution of

services and products under the FIRESTONE and/or FIRESTONE PHILADELPHIA MOTOR

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WORLD name and marks, the Defendants have engaged in deceptive trade practices, including
but not limited to: causing likelihood of confusion or of misunderstanding as to the source,
sponsorship, approval, status, or affiliation of goods or services; and causing likelihood of
confusion or of misunderstanding as to affiliation, connection, or association with another, in
violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§
201-1 to 201-9.3.

SIXTH CLAIM FOR RELIEF

(TRADEMARK INFRINGEMENT UNDER PENNSYLVANIA COMMON LAW)

57. Firestone repeats and realleges each and every allegation set forth in paragraphs 1]

through 56 of this Complaint.

58. Firestone’s FIRESTONE name and mark has become recognized by the general
public as identifying the goods, services, and goodwill of Firestone and its affiliates.

59. The Defendants’ actions, as described above, are likely to create confusion among

consumers in violation of Pennsylvania common law.
PRAYER FOR RELIEF

WHEREFORE, Firestone requests that this Court enter judgment in its favor on each and
every claim for relief set forth above and award it relief including, but not limited to, the

following:

A. An Order declaring that the Defendants’ use of the FIRESTONE and/or FIRESTONE

PHILADELPHIA MOTOR WORLD name and marks infringes on Firestone’s rights in its

FIRESTONE name and marks, and constitutes dilution of the FIRESTONE name and marks, and

unfair competition under federal and/or state law.

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B. A temporary restraining order, preliminary injunction, and permanent injunction
enjoining Defendants and their employees, agents, partners, officers, directors, owners,
shareholders, principals, subsidiaries, related companies, affiliates, distributors, dealers, and all
persons in active concert or participation with any of them:

1. From using or registering the FIRESTONE and/or FIRESTONE PHILADELPHIA
MOTOR WORLD name and mark and/or any other marks or names that are likely to
cause confusion with and/or dilute the FIRESTONE marks—as or as part of a
trademark, trade name, corporate name, business name, e-mail address, domain name,
URL, metatag, keyword, or other name, mark, or identifier;

2. From representing by any means whatsoever, directly or indirectly, that Defendants
are associated or connected in any way with Firestone or sponsored or authorized by
or affiliated with Firestone;

C. An Order directing Defendants to, within thirty days after the entry of the temporary
restraining order, preliminary injunction, and/or permanent injunction, file with this Court and
serve on Firestone’s attorneys a report in writing and under oath setting forth in detail the manner
and form in which Defendants have complied with the temporary restraining order, preliminary
injunction, and/or permanent injunction;

D. An Order directing Defendants to immediately remove, at Defendants’ sole cost, signage
bearing the FIRESTONE name and mark and/or any other marks or names that are likely to
cause confusion with and/or dilute the FIRESTONE name and marks;

E. An Order directing Defendants to immediately destroy all products, advertisements,

promotional materials, stationery, forms, and/or any other materials and things that contain or

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bear the FIRESTONE mark and name and/or any other marks or names that are likely to cause
confusion with and/or dilute the FIRESTONE name and marks;

F. An Order requiring Defendants to account for and pay to Firestone any and all profits
arising from the foregoing acts, and increasing such profits, including trebling them, in
accordance with 15 U.S.C. § 1117 and other applicable laws;

G. An Order requiring Defendants to pay Firestone damages in an amount as yet
undetermined caused by the foregoing acts, and trebling such damages in accordance with 15
U.S.C. § 1117 and other applicable laws;

H. An Order requiring Defendants to pay Firestone damages in an amount as yet
undetermined caused by the foregoing acts, in accordance with state statutory and common law;

I. An Order requiring Defendants to pay Firestone its costs and attorneys’ fees in this action
pursuant to 15 U.S.C. § 1117 and other applicable laws;

J. An Order requiring Defendants to pay prejudgment and post-judgment interest as
recoverable under statute and common law on all sums; and

K. Other relief as the Court may deem appropriate.

JURY DEMAND

Pursuant to Fed. R. Civ. P. 38, Firestone respectfully demands a trial by jury on all issues

properly triable by a jury in this action.

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Date: 11/16/2018

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